Case 2:23-cv-01461-DSF-AFM Document 1-8 Filed 02/27/23 Page 1 of 15 Page ID #:46




              EXHIBIT H




                                                                            EXHIBIT H
                                                                             PAGE 45
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                                                  22STCV36996
                  Case 2:23-cv-01461-DSF-AFM Document 1-8 Filed 02/27/23 Page 2 of 15 Page ID #:47
                                        Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Yolanda Orozco




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                         7

                         8
                                                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
                         9
                                                                                    COUNTY OF LOS ANGELES
                       10

                       11         HEALTHCARE ALLY MANAGEMENT                                                 Case No.:
                                  OF CALIFORNIA, LLC
                       12                                                                                    Complaint For:
                                                               Plaintiff,
                       13                                                                                    1.     PROMISSORY ESTOPPEL.
                                              v.                                                             2.     VIOLATION OF CAL. BUS. & PROF.
                       14                                                                                           CODE §17200 ET SEQ. (“UCL”).
                                  O’Melveny & Myers, LLP and DOES 1-                                         3.     NEGLIGENT MISREPRESENTATION;
                       15         10,                                                                               and
                                                                                                             4.     BREACH OF WRTITEN CONTRACT
                       16                                      Defendant.
                                                                                                             (Jury Trial Requested)
                       17
                                                                                                             Damages - $230,009.00
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                                                                                                    Complaint
                                                                                                                                                                         EXHIBIT H
                                                                                                                                                                          PAGE 46
Case 2:23-cv-01461-DSF-AFM Document 1-8 Filed 02/27/23 Page 3 of 15 Page ID #:48



   1          Plaintiff HEALTHCARE ALLY MANAGEMENT OF CALIFORNIA, LLC. (Hereinafter

   2   referred to as “PLAINTIFF”, and “HAMOC”) complains and alleges:

   3                                                PARTIES

   4          1.      On June 17, 2015, La Peer Surgery Center (hereinafter referred to as the “Medical

   5   Provider”) entered into an agreement with HAMOC. The agreement provided that Medical

   6   Provider could assign any past, present, or future unpaid or underpaid bills to HAMOC by

   7   sending HAMOC a copy of the unpaid or underpaid bill. The agreement also provided that once

   8   an underpaid or unpaid bill was assigned to HAMOC, HAMOC had the right to take any legal

   9   action necessary including the filing of a lawsuit to attempt to recover an unpaid or underpaid bill.

  10   On October 13, 2022, Medical Provider assigned Patient’s’1 underpaid/unpaid bill including the

  11   right to file a lawsuit to HAMOC by sending via email a copy Patient’s underpaid/unpaid bill to

  12   HAMOC. Patient is a member and enrollee of O’Melveny & Myers, LLP (hereinafter referred to

  13   as “DEFENDANT”) health insurance policy.

  14          2.      DEFENDANT is and was licensed to do business in and is and was doing business

  15   in the State of California, as a payor of insurance. HAMOC is informed and believes that

  16   DEFENDANT and or its agents are licensed to transact the business of insurance in the State of

  17   California. DEFENDANT and or its agents are in fact transacting the business of insurance in the

  18   State of California and is thereby subject to the laws and regulations of the State of California.

  19          3.      The true names and capacities, whether individual, corporate, associate, or

  20   otherwise, of defendants DOES 1 through 10, inclusive, are unknown to HAMOC, who therefore
  21   sues said defendants by such fictitious names. HAMOC is informed and believes and thereon

  22   alleges that each of the defendants designated herein as a DOE is legally responsible in some

  23   manner for the events and happenings referred to herein and legally caused injury and damages

  24   proximately thereby to HAMOC. HAMOC will seek leave of this Court to amend this Complaint

  25

  26
       1
        For privacy reasons and in order to comply with Health Insurance Portability and Accountability
  27   Act (“HIPAA”), the full names, dates of treatment and policy information pertaining to the
       Patients is being withheld. This information will be disclosed to defendants upon their request.
  28
                                                      -2-
                                                  COMPLAINT
                                                                                                   EXHIBIT H
                                                                                                    PAGE 47
Case 2:23-cv-01461-DSF-AFM Document 1-8 Filed 02/27/23 Page 4 of 15 Page ID #:49



   1   to insert their true names and capacities in place and instead of the fictitious names when they

   2   become known to it.

   3           4.         At all times herein mentioned, unless otherwise indicated, DEFENDANT/s were

   4   the agents and/or employees of each of the remaining defendants and were at all times acting

   5   within the purpose and scope of said agency and employment, and each defendant has ratified and

   6   approved the acts of his agent. At all times herein mentioned, DEFENDANT/s had actual or

   7   ostensible authority to act on each other’s behalf in certifying or authorizing the provision of

   8   services; processing and administering the claims and appeals; pricing the claims; approving or

   9   denying the claims; directing each other as to whether and/or how to pay claims; issuing

  10   remittance advices and explanations of benefits statements; making payments to Medical Provider

  11   and its Patient.

  12
                                            GENERAL ALLEGATIONS
  13
               5.         All of the claims asserted in this complaint are based upon the individual and
  14
       proper rights of Medical Provider in its own individual capacity and are not derivative of the
  15
       contractual or other rights of the Medical Provider’s Patients. The claims asserted in this
  16
       complaint arise out of the Medical Provider’s interactions with DEFENDANT and DOES 1
  17
       through 10, inclusive and are derived from the representations and warranties made during those
  18
       conversations amongst those parties. Medical Provider does not in any way, seek to enforce the
  19
       contractual rights of the Medical Provider’s Patients, through the Patients’ insurance contract,
  20
       policies, certificates of coverage or other written insurance agreements.
  21
               6.         This complaint arises out of the failure of DEFENDANT to make proper payments
  22
       and/or the underpayment to Medical Provider by DEFENDANT and DOES 1 through 10,
  23
       inclusive, of amounts due and owing now to Medical Provider for surgical care, treatment and
  24
       procedures provided to Patients, who are insureds, members, policyholders, certificate-holders or
  25
       were otherwise covered for health, hospitalization and major medical insurance through policies
  26
       or certificates of insurance issued and underwritten by DEFENDANT and DOES 1 through 10,
  27
       inclusive.
  28
                                                         -3-
                                                     COMPLAINT
                                                                                                    EXHIBIT H
                                                                                                     PAGE 48
Case 2:23-cv-01461-DSF-AFM Document 1-8 Filed 02/27/23 Page 5 of 15 Page ID #:50



   1          7.      Medical Provider is informed and believes based on DEFENDANT’s oral and

   2   other representations that the Patient was an insured of DEFENDANT either as a subscriber to

   3   coverage or a dependent of a subscriber to coverage under a policy or certificate of insurance

   4   issued and underwritten by DEFENDANT and DOES 1 through 10, inclusive, and each of them.

   5   Medical Provider is informed and believes that the Patient entered into a valid insurance

   6   agreement with DEFENDANT for the specific purpose of ensuring that the Patient would have

   7   access to medically necessary treatments, care, procedures, and surgeries by medical practitioners

   8   like Medical Provider and ensuring that DEFENDANT would pay for the health care expenses

   9   incurred by the Patient.

  10          8.      Medical Provider is informed and believes that DEFENDANT and DOES 1

  11   through 10, inclusive, and each of them, received and continue to receive, valuable premium

  12   payments from the Patients and/or other consideration from patients under the subject policies

  13   applicable to patients.

  14          9.      It is standard practice in the health care industry that when a medical provider

  15   enters into a written preferred provider contract with a health plan such as DEFENDANT, that a

  16   medical provider agrees to accept reimbursement that is discounted from the medical provider’s

  17   total billed charges in exchange for the benefits of being a preferred or contracted provider.

  18          10.     Those benefits include an increased volume of business because the health plan

  19   provides financial and other incentives to its members to receive their medical care and

  20   treatments from the contracted provider, such as advertising that the provider is “in network” and
  21   allowing the members to pay lower co-payments and deductibles to obtain care and treatment

  22   from a contracted provider.

  23          11.     Conversely, when a medical provider, such as Medical Provider, does not have a

  24   written contract or preferred provider agreement with a health plan, the medical provider receives

  25   no referrals from the health plan.

  26          12.     The medical provider has no obligation to reduce its charges. The health plan is
  27   not entitled to a discount from the medical provider’s total bill charge for the services rendered,

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                                                      -4-
                                                  COMPLAINT
                                                                                                   EXHIBIT H
                                                                                                    PAGE 49
Case 2:23-cv-01461-DSF-AFM Document 1-8 Filed 02/27/23 Page 6 of 15 Page ID #:51



   1   because it is not providing the medical provider within network medical provider benefits, such as

   2   increased patient volume and direct payment obligations.

   3          13.        The reason why medical providers have chosen to forgo the benefits of a contract

   4   with a payor is that, in recent years, many insurers including DEFENDANT’s contracted rates for

   5   in-network providers have been so meager, one-sided, and onerous, that many providers like

   6   Medical Provider have determined that they cannot afford to enter into such contracts. As a

   7   result, a growing number of medical providers have become non-contracted or out of network

   8   providers.

   9          14.        Plaintiff believes that for non-contracted, out-of-plan, or out-of-network providers,

  10   DEFENDANT has unlawfully underpaid these providers for the medically necessary and

  11   appropriate services they have rendered to the insured of the DEFENDANT. Plaintiff believes

  12   that in some cases DEFENDANT has used flawed databases and systems to unilaterally

  13   determine what amounts it pays to medical providers and has colluded with other insurers to

  14   artificially underpay, decrease, limit, and minimize the reimbursement rates paid for services

  15   rendered by non-contracted providers.

  16          15.        Often, the rates paid to medical providers such as Medical Provider by payors such

  17   as DEFENDANT for the exact same procedure, treatment, surgery, or service, were paid at

  18   different rates during the same year. At other times, medical providers were paid rates which

  19   were below what they would have received had they been a preferred or in-network provider,

  20   even though such volume-discounted rates would have been significantly lower than usual,
  21   reasonable, or customary rates as defined by California law.

  22          16.        Medical Provider is informed and believes and thereon alleges that

  23   DEFENDANT’s systems for paying out-of-network claims is flawed, that DEFENDANT

  24   improperly manipulates the data in its systems to underpay out-of-network Medical Provider

  25   claims and that DEFENDANT’s systems and methods for calculating such rates violate

  26   California law.
  27          17.        Payors and insurers want their patients to be seen and so they commonly promise

  28   to pay a percentage of the market rate for the procedure, also described as, an average payment
                                                        -5-
                                                     COMPLAINT
                                                                                                    EXHIBIT H
                                                                                                     PAGE 50
Case 2:23-cv-01461-DSF-AFM Document 1-8 Filed 02/27/23 Page 7 of 15 Page ID #:52



   1   for the procedure performed or provided by similarly situated medical providers within similarly

   2   situated areas or places of practice. Rather than use the words market rate to simplify terms,

   3   payors have long used words or combinations of words such as usual, reasonable, customary, and

   4   allowed, all to mean an average payment for a procedure provided by similarly situated medical

   5   providers within similarly situated areas or places of practice (“UCR”).

   6          18.      The United States government provides a definition for the term UCR. “The

   7   amount paid for a medical service in a geographic area based on what providers in the area

   8   usually charge for the same or similar medical service. The UCR amount sometimes is used to

   9   determine the allowed amount.”2

  10          19.      Based upon these criteria, Medical Provider’s charges are usual, reasonable, and

  11   customary. Medical Provider charged DEFENDANT the same fees that it charges all other

  12   payors. Medical Provider’s fees are comparable to the prevailing provider rates for other

  13   surgeons in comparable geographic areas to the one in which the services were provided.

  14          20.      DEFENDANT uses the term UCR in its insurance policies.

  15          21.      When DEFENDANT uses the term UCR for the price of a medical service,

  16   DEFEDANT will utilize a medical bill database from Fair Health Inc. to determine the exact

  17   dollar amount to be paid for a medical claim.3

  18          22.      Fair Health Inc. is a database which is available to the public. It is available for

  19   purchase when utilized by entities like DEFENDANT and it is available for free in a more limited

  20   fashion for use by consumers.4
  21          2
                See Healthcare.gov, UCR (Usual, Customary and Reasonable) (February 19, 2020),
  22   https://www.healthcare.gov/glossary/UCR-usual-customary-and-reasonable/ (defining UCR)
              3
  23            United Healthcare, Information on Payment of Out-of-Network Benefits (March 6,
       2018), https://www.uhc.com/legal/information-on-payment-of-out-of-network-benefits (“FH,
  24   [Fair Health], Benchmarking Database. One of two compilations of information on health care
       professional charges created by Fair Health and used by affiliates of UnitedHealth Group to
  25   determine payment for out-of-network professional services when reimbursed under standards
       such as ‘the reasonable and customary amount,’ ‘the usual, reasonable and customary amount,’
  26   ‘the prevailing rate,’ or other similar terms that base payment on what other healthcare
       professionals in a geographic area charge for their services.”
  27          4
                  See fairhealthconsumer.org, (February 19, 2020), https://www.
  28                                                                                                (Continued)

                                                        -6-
                                                    COMPLAINT
                                                                                                     EXHIBIT H
                                                                                                      PAGE 51
Case 2:23-cv-01461-DSF-AFM Document 1-8 Filed 02/27/23 Page 8 of 15 Page ID #:53



   1          23.     When a medical provider like PLAINTIFF is told that DEFENDANT will be

   2   paying a claim based on UCR, PLAINTIFF expects that DEFENDANT will be utilizing the Fair

   3   Health database to calculate the exact dollar amount that will be paid.

   4          24.     PLAINTIFF has a reputation for providing high quality care and, as a result,

   5   PLAINTIFF expects it will be appropriately compensated for those services.

   6          25.     Pursuant to California Health and Safety Code Section 1371.31 and Cal. Code

   7   Regs. tit. 28, § 1300.71(3)(c), all medical providers have their own individual right to payment

   8   from insurers for medical services provided to one of their insureds in accordance with a patient’s

   9   evidence of coverage.

  10          26.     According to California Health and Safety Code Section 1371.31and Cal. Code

  11   Regs. tit. 28, § 1300.71, a failure to pay a medical provider in accordance with a patient’s

  12   evidence of coverage, vests a medical provider with its own separate individual right to recovery

  13   in accordance with a patient’s evidence of coverage.

  14

  15                                          SPECIFIC FACTS

  16                                             PATIENT SG

  17          27.     On February 27, 2020, Medical Provider conducted surgery and provided services

  18   on and for patient for the benefit of Patient and DEFENDANT.

  19          28.     On February 26, 2020, Medical Provider’s representative Y.P. spoke with

  20   Defendant’s representative Shelly.
  21          29.     Defendant represented to Medical Provider that Patient’s deductible is and was

  22   $5,000.00 and that the deductible had been met and Patient’s Max Out of Pocket (“MOOP”)

  23   expense is and was $7,000.00 and that to date for the calendar year Patient had paid $257.73.

  24

  25

  26
  27   fairhealthconsumer.org/medical/results (assisting consumers to calculate the amount to be paid
       for a particular medical procedure)
  28
                                                      -7-
                                                  COMPLAINT
                                                                                                  EXHIBIT H
                                                                                                   PAGE 52
Case 2:23-cv-01461-DSF-AFM Document 1-8 Filed 02/27/23 Page 9 of 15 Page ID #:54



   1          30.       Defendant represented to Medical Provider that Medical Provider would be paid

   2   for medical services at one hundred (100) percent of the UCR amount.5

   3          31.       DEFENDANT further represented that payment would not be made at a rate based

   4   on Medicare.

   5          32.       All of the information obtained in said conversation was documented by Medical

   6   Provider at the time of the phone conversation as part of Medical Provider’s policy and practice.

   7          33.       At no time prior to the provision of services to Patient by Medical Provider, during

   8   conversations between Medical Provider and DEFENDANT did DEFENDANT advise Medical

   9   Provider that Patient’s policy or certificate of insurance was subject to certain exclusions,

  10   limitations, or qualifications, which might result in denial of coverage, limitation of payment or

  11   any other method of payment unrelated to the UCR rate.

  12          34.       DEFENDANT did not make reference to any other portion of Patient’s plan that

  13   would put Medical Provider on notice of any reduction in the originally stated payment

  14   percentage.

  15          35.       Despite representing that payment would be made at the UCR rate, DEFENDANT

  16   knew or should have known that it would not be paying Medical Provider at the UCR rate.

  17          36.       Despite representing that payment would not be made at a Medicare rate,

  18   DEFENDANT knew or should have known that it would be paying Medical Provider at a

  19   Medicare rate.

  20          37.       Medical Provider relied and provided services solely based on DEFENDANT’s
  21   statements, promises and representations. Statements which had no relation to DEFENDANT and

  22   Patient’s plan document, as the statements may or may not have been based in the DEFENDANT

  23   or Patient’s plan documents, but that bore no consideration when Medical Provider agreed to

  24   provide medical services. Medical Provider took DEFENDANT at its word and promises and

  25   provided services based solely on those promises and representations.

  26
              5
                A reasonable and customary payment amount can be determined through publicly
  27   available databases such as Fair Health. For all bills alleged in this complaint, the billed amount
       was less than what Fair Health would consider to be reasonable and customary.
  28
                                                       -8-
                                                   COMPLAINT
                                                                                                   EXHIBIT H
                                                                                                    PAGE 53
Case 2:23-cv-01461-DSF-AFM Document 1-8 Filed 02/27/23 Page 10 of 15 Page ID #:55



    1          38.      In the alternative, pursuant to California Health and Safety Code Section 1371.31

    2   and Cal. Code Regs. tit. 28, § 1300.71(3)(c) DEFENDANT had a contractual obligation to pay

    3   Medical Provider in accordance with Patient’s plan document and agreement.

    4          39.      According to the Patient plan agreement, DEFENDANT was obligated to pay

    5   Medical Provider, Medical Provider’s full billed amount.

    6          40.      Under either scenario, following the procedure, Medical Provider submitted to

    7   DEFENDANT any and all billing information required by DEFENDANT, including a total bill

    8   for $200,009.00.

    9          41.      DEFENDANT paid $21,573.14 to Medical Provider. The amount paid was well

   10   below the billed amount and well below a UCR amount.

   11          42.      As of the date of this complaint, DEFENDANT has still refused to make the

   12   appropriate payment to Medical Provider and Medical Provider was and now HAMOC is entitled

   13   to that payment from DEFENDANT.

   14                                     FIRST CAUSE OF ACTION:

   15                                  FOR PROMISSORY ESTOPPEL

   16          43.      HAMOC incorporates by reference all previous paragraphs as though fully set

   17   forth herein.

   18          44.      DEFENDANT promised and asserted that the procedure to be performed and

   19   which were performed for and on the Patients were covered, authorized, certified and would be

   20   paid for at the rate of UCR.
   21          45.      DEFENDANT also promised that the payment would not based on Medicare.

   22          46.      Medical Provider only decided to provide services because they were assured that

   23   Medicare was not part of the calculation of payment and that Medical Provider would be paid at

   24   the UCR rate.

   25          47.      At all times both DEFENDANT and Medical Provider understood that a promised

   26   payment rate of UCR meant that DEFENDANT would be calculating the payment rate using a
   27   medical claims database created by Fair Health Inc.

   28
                                                      -9-
                                                   COMPLAINT
                                                                                                 EXHIBIT H
                                                                                                  PAGE 54
Case 2:23-cv-01461-DSF-AFM Document 1-8 Filed 02/27/23 Page 11 of 15 Page ID #:56



    1          48.      After assuring and promising Medical Provider that payment would be at the UCR

    2   rate, DEFENDANT should have reasonably expected that Medical Provider would then go on to

    3   provide the procedure on the Patients expecting that payment would be made at that rate.

    4          49.      As a direct and proximate result of DEFENDANT’s misrepresentations, Medical

    5   Provider has been damaged in an amount equal to the amount of money Medical Provider should

    6   have received had DEFENDANT paid the cost of the procedures at the UCR rate less any

    7   applicable MOOP or deductible/coinsurance.

    8          50.      The detriment suffered by Medical Provider and now HAMOC is the amount

    9   required to make Medical Provider and now HAMOC whole, for the time, cost and money

   10   expended in providing the services to patients based on DEFENDANT’S promise of payment at

   11   the UCR rate. As a further direct, legal, and proximate result of Medical Provider’s detrimental

   12   reliance on the misrepresentations of defendants, and each of them, Medical Provider has been

   13   damaged due to the loss of monies expended in providing said services for which it was

   14   significantly underpaid and has suffered damages in the loss of use of the proceeds and income to

   15   be derived from the services.

   16          51.      In light of the material representations and misrepresentations of DEFENDANT

   17   made to Medical Provider, and of Medical Provider’s reliance on DEFENDANT’s

   18   representations, and based upon Medical Provider’s detrimental reliance thereon, DEFENDANT,

   19   and each of them, are estopped from denying payment and indemnification for Patients’

   20   treatments at the UCR rate and Medical Provider was and now HAMOC is entitled to the value
   21   enumerated by that calculation. An amount to be determined at the time of trial.

   22                                   SECOND CAUSE OF ACTION

   23                   VIOLATION OF CAL. BUS. & PROF. CODE §17200 ET SEQ.

   24          52.      HAMOC incorporates by reference all previous paragraphs as though fully set

   25   forth herein.

   26          53.      DEFENDANT’S conduct violates California Business and Professions Code §
   27   17200, et seq. The acts and practices of DEFENDANT constitute a common continuous and

   28
                                                     - 10 -
                                                  COMPLAINT
                                                                                                   EXHIBIT H
                                                                                                    PAGE 55
Case 2:23-cv-01461-DSF-AFM Document 1-8 Filed 02/27/23 Page 12 of 15 Page ID #:57



    1   continuing course of conduct of unfair competition by means of unlawful and unfair business acts

    2   or practices within the meaning of Section 17200.

    3          54.     Pursuant to California Health and Safety Code Section 1371.31 and CAL. CODE

    4   REGS. TIT. 28, § 1300.71, once Medical Provider provided medical services to Patient,

    5   DEFENDANT was obligated to pay Medical Provider in accordance with Patient’s evidence of

    6   coverage.

    7          55.     DEFENDANT’s actions in this regard are unlawful, as DEFENDANT is obligated

    8   under the statutory scheme of the Knox Keene Health Care Service Plan Act of 1975, California

    9   Health & Safety Code, § 1340 et seq., (“Knox Keene Act”) to process and pay for the out of

   10   network elective medical procedures at “the amount paid by the health care service plan…set

   11   forth in the enrollee’s evidence of coverage.”

   12          56.     DEFENDANT’s conduct is not only unlawful it is also unfair. DEFENDANT’s

   13   conduct as alleged is “unfair” in that it offends public policy, is immoral, unscrupulous, unethical,

   14   deceitful, and offensive, and causes substantial injury to Medical Provider and now Plaintiff.

   15          57.     Patients out of network health insurance so that they can be able to see a larger

   16   selection and generally a better selection of doctors. DEFENDANT’s failure to compensate

   17   Medical Provider and medical providers like Medical Provider puts the burden of paying for the

   18   services on only on the Patient.

   19          58.     DEFENDANTS actions as a result are unfair and wrong.

   20          59.     DEFENDANT ignores the law and acts with disregard for each patient’s choice to
   21   see an out of network doctor.

   22          60.     For the reasons stated above, Plaintiff now seeks an order enjoining

   23   DEFENDANT from failing to pay out of network medical providers at least in accordance with

   24   each patient’s evidence of coverage or health plan.

   25          61.     Patients have a right to see the doctor they will see and Defendant’s actions are

   26   merely an attempt to prevent patients freedom in that regard. As a result, Medical Provider seeks
   27   an order awarding attorneys’ fees and costs pursuant to Code of Civil Procedure Section 1021.5,

   28   as it seeks to enforce this important aspect of the California healthcare scheme and system.
                                                         - 11 -
                                                   COMPLAINT
                                                                                                   EXHIBIT H
                                                                                                    PAGE 56
Case 2:23-cv-01461-DSF-AFM Document 1-8 Filed 02/27/23 Page 13 of 15 Page ID #:58



    1           62.     Another remedy under the UCL is restitution. As expressed by Bell v. Blue Cross

    2   of California, “he who has performed the duty of another by supplying a third person with

    3   necessaries, although acting with the other’s knowledge or consent, is entitled to restitution…” As

    4   a result, Medical Provider also seeks restitution for the services Medical Provider provided but for

    5   which Medical Provider was incorrectly paid.

    6                                    THIRD CAUSE OF ACTION

    7                               FOR NEGLIGENT MISREPRESENTATION

    8           63.     HAMOC incorporates by reference all previous paragraphs as though fully set

    9   forth herein.

   10           64.     DEFENDANT falsely represented to Medical Provider that payment for services

   11   would be based on UCR and not Medicare.

   12           65.     DEFENDANT knew that any payment made to Medical Provider would not be

   13   made the UCR rate and would instead be made at the Medicare rate.

   14           66.     DEFENDANT should have known that in making the representations that payment

   15   would be made at the UCR and not Medicare rate that Medical Provider would go on to provide

   16   the services.

   17           67.     Medical Provider then relied on DEFENDANT’s misrepresentation and provided

   18   the services to patients.

   19           68.     Medical Provider and now HAMOC has been damaged in not receiving payment

   20   at the represented UCR rate.
   21                                   FOURTH CAUSE OF ACTION

   22                               FOR BREACH OF WRITTEN CONTRACT

   23           69.     HAMOC incorporates by reference all previous paragraphs as though fully set

   24   forth herein.

   25           70.     Pursuant to California Health and Safety Code Section 1371.31 and CAL. CODE

   26   REGS. TIT. 28, § 1300.71, once Medical Provider provided medical services to Patient,
   27   DEFENDANT was obligated to pay Medical Provider in accordance with Patient’s health plan

   28   documents and evidence of coverage.
                                                      - 12 -
                                                   COMPLAINT
                                                                                                  EXHIBIT H
                                                                                                   PAGE 57
Case 2:23-cv-01461-DSF-AFM Document 1-8 Filed 02/27/23 Page 14 of 15 Page ID #:59



    1               71.   Medical Provider provided the services, but DEFENDANT failed to pay according

    2   to the terms of the patient’s health plan documents.

    3               72.   At best, DEFENDANT applied policies and terms not found in the over 200 pages

    4   of each patient’s evidence of coverage, but instead claimed to exist in other policies, documents

    5   and manuals utilized by DEFENDANT, but never provided to patient or medical providers.

    6               73.   Additionally, and separately, Patient assigned the rights and benefits under its

    7   health plan to Medical Provider and now HAMOC.

    8               74.   At all times the Patients’ health plan agreement was in full force and effect.

    9               75.   Under the terms of the agreement, DEFENDANT was obligated to pay for facility

   10   services based on Medical Provider’s billed charges.

   11               76.   DEFENDANT failed to make payment in accordance with the terms of the written

   12   agreement and instead made a payment that was far less than Medical Provider’s billed amount.

   13               77.   As an actual, legal, and proximate result of the aforementioned conduct of

   14   defendants, and each of them, Medical Provider has suffered and HAMOC now suffers, and will

   15   continue to suffer in the future, damages based on DEFENDANT’s failure to pay Medical

   16   Provider under the terms of the Patient’s health plan agreement. A total amount to be determined

   17   at trial.

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                                                      COMPLAINT
                                                                                                      EXHIBIT H
                                                                                                       PAGE 58
Case 2:23-cv-01461-DSF-AFM Document 1-8 Filed 02/27/23 Page 15 of 15 Page ID #:60



    1                                        PRAYER FOR RELIEF

    2          WHEREFORE, Healthcare Ally Management of California, LLC prays for judgment

    3   against defendants as follows:

    4          1.      For compensatory damages in an amount to be determined, plus statutory interest.

    5          2.      For restitution in an amount to be determined, plus statutory interest.

    6          3.      For a declaration that DEFENDANT is obligated to pay plaintiff all monies owed

    7   for services rendered to the Patients; and

    8          4.      For such other relief as the Court deems just and appropriate.

    9

   10   Dated: November 23, 2022                       LAW OFFICE OF JONATHAN A. STIEGLITZ
   11                                                  By: /s/ Jonathan A. Stieglitz
   12                                                       JONATHAN A. STIEGLITZ
                                                            Attorney for Plaintiff,
   13                                                       HEALTHCARE ALLY MANAGEMENT OF
                                                            CALIFORNIA, LLC
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   15

   16                                    DEMAND FOR JURY TRIAL
   17          Plaintiff, Healthcare Ally Management of California, LLC, hereby demands a jury trial as
   18   provided by law.
   19

   20   Dated: November 23, 2022                       LAW OFFICE OF JONATHAN A. STIEGLITZ

   21                                                  By: /s/ Jonathan A. Stieglitz
                                                            JONATHAN A. STIEGLITZ
   22                                                       Attorneys for Plaintiff,
                                                            HEALTHCARE ALLY MANAGEMENT OF
   23                                                       CALIFORNIA, LLC
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                                                     COMPLAINT
                                                                                                 EXHIBIT H
                                                                                                  PAGE 59
